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BRADLEY ARANT BOULT CUMMINGS LLP
One Federal Place
1819 5th Avenue N
Birmingham, AL 35203

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA ex rel.
INTEGRA MED ANALYTICS LLC,
           Plaintiff,
     v.
ISAAC LAUFER, MONTCLAIR CARE CENTER,
INC., EAST ROCKAWAY CENTER LLC, EXCEL     17 Civ. 9424 (CS)
AT WOODBURY FOR REHABILITATION AND
NURSING, LLC, LONG ISLAND CARE CENTER     MOTION TO DISMISS
INC., TREETOPS REHABILITATION & CARE,
SUTTON PARK CENTER FOR NURSING &      On behalf of Montclair Care Center,
REHABILITATION, LLC, SUFFOLK          Inc.; East Rockaway Center LLC
RESTORATIVE THERAPY & NURSING, LLC,   d/b/a Lynbrook Restorative Therapy
OASIS REHABILITATION AND NURSING,     and Nursing; Excel at Woodbury
LLC, and FOREST MANOR CARE CENTER,    Rehabilitation and Nursing, LLC;
INC.,                                 Long Island Care Center Inc.;
                                      Treetops Rehabilitation & Care
           Defendants.                Center LLC d/b/a North Westchester
UNITED STATES OF AMERICA,             Restorative Therapy and Nursing
                                      Center; Sutton Park Center for
           Plaintiff,                 Nursing & Rehabilitation, LLC;
      v.                              Suffolk Restorative Therapy &
                                      Nursing, LLC d/b/a Momentum at
ISSAC LAUFER, TAMI WHITNEY, PARAGON
                                      South Bay for Rehabilitation and
MANAGEMENT SNF LLC, MONTCLAIR CARE
                                      Nursing; Oasis Rehabilitation and
CENTER, INC., EAST ROCKAWAY CENTER
                                      Nursing LLC; Forest Manor Care
LLC, EXCEL AT WOODBURY FOR
                                      Center, Inc. d/b/a Glen Cove Center
REHABILITATION AND NURSING, LLC, LONG
                                      for Nursing and Rehabilitation;
ISLAND CARE CENTER INC., TREETOPS
                                      Surge Rehabilitation & Nursing
REHABILITATION & CARE CENTER LLC,
                                      LLC; and Quantum Rehabilitation
SUTTON PARK CENTER FOR NURSING &
                                      & Nursing LLC
REHABILITATION, LLC, SUFFOLK
RESTORATIVE THERAPY & NURSING, LLC,
OASIS REHABILITATION AND NURSING,
LLC, FOREST MANOR CARE CENTER, INC.,
SURGE REHABILITATION & NURSING LLC,
and QUANTUM REHABILITATION & NURSING
LLC,
           Defendants.
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       Defendants Montclair Care Center, Inc. d/b/a Emerge Nursing and Rehabilitation at Glen

Cove (“Emerge”); East Rockaway Center LLC d/b/a Lynbrook Restorative Therapy and Nursing

(“Lynbrook”); Excel at Woodbury Rehabilitation and Nursing, LLC (“Excel”); Long Island Care

Center Inc. (“LICC”); Treetops Rehabilitation & Care Center LLC d/b/a North Westchester

Restorative Therapy and Nursing Center (“North Westchester”); Sutton Park Center for Nursing

& Rehabilitation, LLC (“Sutton Park”); Suffolk Restorative Therapy & Nursing, LLC d/b/a

Momentum at South Bay for Rehabilitation and Nursing (“Momentum”); Oasis Rehabilitation and

Nursing LLC (“Oasis”); Forest Manor Care Center, Inc. d/b/a Glen Cove Center for Nursing and

Rehabilitation (“Glen Cove”); Surge Rehabilitation & Nursing LLC (“Surge”); and Quantum

Rehabilitation & Nursing LLC (“Quantum”) move this Court to dismiss the Government’s

Complaint in Intervention (Doc. 13) (“Complaint”) under Rules 8, 9(b), and 12(b)(6).

                                       INTRODUCTION

       For years, Emerge, Lynbrook, Excel, LICC, North Westchester, Sutton Park, Momentum,

Oasis, Glen Cove, Surge, and Quantum have operated as separate, distinct, high-quality skilled

nursing care facilities and individually provided care that resulted in exceptional outcomes for

their residents. And yet, in its Complaint, the government has opted to sue these eleven

independent facilities, two individuals, and a third party services company as one, alleging in

conclusory and collective fashion that each violated the False Claims Act (“FCA”) by submitting

claims for services provided to residents who purportedly stayed too long or received too much

therapy. Despite more than three years of investigation, the government fails to allege any specific

facts that tie any of these defendants to FCA violations.

       “One of the purposes of Rule 9(b) is to discourage the filing of complaints as a pretext for

discovery of unknown wrongs.” Wood ex rel. U.S. v. Applied Rsch. Assocs., Inc., 328 F. App’x

744, 747 (2d Cir. 2009) (internal quotation and alterations omitted). The crux of the government’s


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Complaint is a series of disconnected, benign communications between two individuals who were

not employees of any of the eleven facilities, and general, conclusory allegations relating to therapy

services provided by “the facilities,” a fictional group. Such allegations do not satisfy Fed. R. Civ.

P. 9(b), which requires FCA violations be alleged with particularity. First, the government fails to

allege the “who, what, where and when” of the alleged fraud for any particular defendant. Second,

the government fails to sufficiently allege specific false claims submitted by these eleven,

independent facilities. Third, the government fails to allege that any of the facilities acted with the

requisite scienter. Finally, the government alleges violations beginning outside of the statute of

limitations for such claims. The government’s common law claims are similarly flawed.

                                         BACKGROUND

       Professional relator Integra Med Analytics LLC (“Relator”) brought this case under the qui

tam provisions of the FCA on December 1, 2017. 31 U.S.C. § 3730(b). 1 Under the FCA, relators

file suit under seal and allow the government to investigate the allegations and decide whether to

intervene and take over the case. 31 U.S.C. § 3730(b)(2). During this time, the government may

subpoena documents, issue interrogatories, and compel testimony from the defendants. 31 U.S.C.

§ 3733. In this case, the government requested multiple extensions of the seal deadline. After

investigating for over three and a half years, the government filed its Complaint on June 2, 2021.

       The Complaint provides scant allegations as to any of the individual defendants, contrary

to what is required to plead an FCA claim. The government has pled no facts demonstrating that

any facility acted to submit claims at all, let alone to knowingly cause false claims to be submitted.


1
  Integra Med Analytics is a data analytics firm that mines publicly available Medicare information
to identify what it alleges are aberrant billing patterns. It has filed several other qui tam lawsuits,
with two appellate courts affirming dismissal of such allegations for failure to state a claim. See,
e.g., U.S. ex rel. Integra Med Analytics, L.L.C. v. Baylor Scott & White Health, 816 F. App’x 892
(5th Cir.), cert. denied, 141 S. Ct. 905, 208 L. Ed. 2d 458 (2020); Integra Med Analytics LLC v.
Providence Health & Servs., 854 F. App’x 840 (9th Cir. 2021).


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The government’s allegations can be broadly categorized into three groups: first, allegations

generally referring to facilities, employees or personnel that do not refer to a specific facility;

second, conversations between defendants Laufer and Whitney regarding facility operations that

do not include anyone specific at any of the facilities; and third, a few directed, but still Rule 9

deficient, allegations relating to certain but not all of the facility defendants. None of these

categories of allegations describe with the requisite specificity how any of the eleven, independent

facilities participated in any conduct, scheme, or the submission of claims in violation of the FCA.

                                       LEGAL STANDARD

       A complaint “must contain sufficient factual matter, accepted as true, to state a claim to

relief that is plausible on its face …[, and] a claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation and

citation omitted). Although the court must accept all well-pleaded allegations in a complaint as

true, the court need not accept “legal conclusions” or “unadorned, the-defendant-unlawfully-

harmed-me accusation[s]”. Id.

      The FCA imposes liability to one who “knowingly presents, or causes to be presented, to

an officer or employee of the United States Government ... a false or fraudulent claim for payment

or approval; … [or] knowingly makes, uses, or causes to be made or used, a false record or

statement material to a false or fraudulent claim.” 31 U.S.C. § 3729(a)(1)(A)-(B). To plead an FCA

violation, “[i]n each case, there must have been a ‘claim.’ Either the claim itself, under subsection

(a)(1), or a record or statement material to a claim, under subsection (a)(1)(B), must have been

false or fraudulent. And the defendant must have known that the claim or statement was false or

fraudulent.” U.S. ex rel. Pervez v. Beth Israel Med. Ctr., 736 F. Supp. 2d 804, 811 (S.D.N.Y. 2010).




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       Each of the claims in the Complaint is a fraud claim, subject to not only basic pleading

requirements, but also the more stringent requirements of Rule 9(b) of the Federal Rules of Civil

Procedure. U.S. ex rel. Chorches for Bankr. Est. of Fabula v. Am. Med. Response, Inc., 865 F.3d

71, 81 (2d Cir. 2017) (“Fabula”); see also United States v. Spectrum Painting Corp., No. 19 CIV.

2096 (AT), 2020 WL 5026815, at *16 (S.D.N.Y. Aug. 25, 2020) (“Rule 9(b) applies to state

common law claims where those claims are premised on a defendant’s underlying fraudulent

conduct, including the submission of fraudulent claims to government programs.”). “The purpose

of Rule 9(b) is threefold—it is designed to provide a defendant with fair notice of a plaintiff’s

claim, to safeguard a defendant’s reputation from improvident charges of wrongdoing, and to

protect a defendant against the institution of a strike suit,” and courts “rigorously enforce these

salutary purposes.” U.S. ex rel. Ladas v. Exelis, Inc., 824 F.3d 16, 25-26 (2d Cir. 2016).

       Rule 9(b) requires a plaintiff to “(1) specify the statements that the plaintiff contends were

fraudulent, (2) identify the speaker, (3) state where and when the statements were made, and (4)

explain why the statements were fraudulent.” Id. at 25; U.S. ex rel. Gelbman v. City of New York,

790 F. App’x 244, 247 (2d Cir. 2019) (“Gelbman II”). At the bare minimum, a plaintiff must plead

the “who, what, when, where and how of the alleged fraud” to survive a motion to dismiss. U.S.

ex rel. Kester v. Novartis Pharmaceuticals Corp., 23 F. Supp. 3d 242, 252 (S.D.N.Y. 2014); Ping

Chen ex rel. U.S. v. EMSL Analytical, Inc., 966 F. Supp. 2d 282, 301 (S.D.N.Y. 2013). The

government fails to meet these requirements, and the Complaint should be dismissed.




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                                           ARGUMENT

       The government’s claims fail for multiple reasons. First, the government fails to plead facts

with particularity that would establish an FCA violation by Emerge, Lynbrook, Excel, LICC, North

Westchester, Sutton Park, Momentum, Oasis, Glen Cove, Surge, or Quantum. Second, the

government fails to plead facts that would show that any of these defendants acted knowingly.

Third, the government alleges claims that pre-date the six-year statute of limitations in this case.

Finally, the government’s common law claims in equity must also be dismissed because the

government has an adequate remedy and the terms of a contract govern the dispute.

I.     The FCA Claims (Counts I and II) Are Not Pled with Particularity

       Despite investigating for over three and a half years, the government has not sufficiently

pled involvement by anyone at Emerge, Lynbrook, Excel, LICC, North Westchester, Sutton Park,

Momentum, Oasis, Glen Cove, Surge, or Quantum in an alleged fraudulent scheme. “Where

multiple defendants are asked to respond to allegations of fraud, the complaint should inform each

defendant of the nature of his alleged participation in the fraud.” Meimaris v. Royce, No.

18CIV4363GBDBCM, 2019 WL 4673572, at *5 (S.D.N.Y. Sept. 25, 2019). The Complaint here

fails to do so. The majority of the allegations in the Complaint about facility conduct are broadly

stated to apply to “facilities” and fail to allege specific actions by any single facility. Contrary to

the government’s conclusory claim of an overarching scheme, the Complaint admits that the

facilities were operated by different personnel at different times. Compl. ¶¶ 51, 55.

       Each of these eleven facilities operates independently of one another. Each has its own

staff including administrators, rehabilitation directors, nurses, and other clinicians. The Complaint

fails to justify the government’s conclusion that Whitney, on behalf of Laufer, could or did control

the actions of any individual staff members at any of these facilities. Although the Complaint

alleges generally that Whitney “worked with [unidentified] employees of the Facilities” and


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pressured unidentified administrators and rehabilitation directors to assign patients to higher levels

of rehabilitation and extend their lengths of stay, it does not allege that any specific staff member

at any particular facility actually extended a resident’s stay or ordered excessive therapy in

response to the alleged, unspecified pressure. Id. at ¶¶ 55-57.

       To contend that every one of these facilities, and thereby, each of their unique treating

physicians and therapists, knowingly submitted false claims for medically unnecessary skilled

nursing services, the government must plead sufficient facts to satisfy the Rule 9(b) standard for

each facility. U.S. ex rel. Aryai v. Skanska, No. 09 CIV. 5456 (LGS), 2019 WL 1258938, at *8

(S.D.N.Y Mar. 19, 2019) (“Because Rule 9(b) requires that a defendant receive fair notice of the

fraud claim, ‘a plaintiff alleging a claim sounding in fraud against multiple defendants under Rule

9(b) must plead with particularity by setting forth separately the acts complained of by each

defendant.”) (citations omitted). A few isolated allegations do not specifically plead a ten-year

scheme against the defendants collectively, let alone individually as required by the FCA and Rule

9(b). 2 Because of the negligible facts in the Complaint detailing the who, what, when, where, and

how of any alleged fraud at Emerge, Lynbrook, Excel, LICC, North Westchester, Sutton Park,

Momentum, Oasis, Glen Cove, Surge, or Quantum, each should be dismissed.

       A.      The Complaint Fails to Plead the “What, When, Where and How” with
               Particularity

       The Complaint fails to plead with particularity the what, when, where, and how for any

facility. Courts have consistently described Rule 9(b) as requiring the government to 1) specify

the statements that the plaintiff contends are fraudulent, 2) identify the speaker, 3) state where and


2
  Additionally, attaching blank forms to the Complaint, as the Government has done, does not
substantively add to the Complaint’s bare-bones allegations or provide the required Rule 9(b)
specificity. See, e.g., Gelbman II, 790 F. App’x at 248 & n. 2; U.S. ex rel. Clausen v. Lab’y Corp.
of Am., 290 F.3d 1301, 1306 (11th Cir. 2002); U.S. ex rel. Jones v. Collegiate Funding Servs., Inc.,
469 F. App’x 244, 253 (4th Cir. 2012).


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when the statements were made, and 4) explain why the statements are fraudulent. Ladas, 824 F.3d

at 25; Gelbman II, 790 F. App’x at 247. Allegations related to any facility are few and far between

in the Complaint. The table below shows the scarce number of times these facilities are even

referenced in the portion of the Complaint purportedly describing “Fraudulent Conduct”:

                    Facility          Total Number of             Paragraph(s)
                                        Paragraphs
             Surge                           1                         68
             Quantum                         1                         66
             Sutton Park                     1                         90
             Excel                           1                         91
             Oasis                           1                         88
             LICC                            2                       91, 92
             Glen Cove                       2                       68, 88
             Momentum                        2                       74, 76
             North Westchester               2                       68, 88
             Emerge                          3                      67-68, 71
             Lynbrook                        5                    63–65, 74–75

“At most, the Complaint describes a series of seemingly unrelated practices [reports, and

communications] . . . accompanied by conclusory labels describing the conduct as fraudulent.”

U.S. ex rel. Scharff v. Camelot Counseling, No. 13-CV-3791 (PKC), 2016 WL 5416494, at *4

(S.D.N.Y. Sept. 28, 2016) (dismissing FCA claims for failing to plead with particularity).

               1.      Quantum and Surge

       The Complaint barely addresses Quantum and Surge at all. The only allegations related to

these two facilities are secondhand—out-of-context communications from Laufer to Whitney

noting that discharges were unusually high. 3 Nothing more. Laufer did not own any portion of




3
  Compl. ¶ 68 (noting that discharges at Surge “were high”); id. ¶ 66 (“Laufer noted that . . .
discharges [at Quantum] was double what it had been the prior month.”). These alleged
communications relay facts about the business. Neither support a fraud claim.



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Quantum and Surge until 2016, yet the Complaint lumps these two facilities in with nine others in

claiming fraud going back to 2010. See Compl. ¶¶ 1, 50.

       The Complaint identifies no specific patients, providers, services, or other conduct for

Quantum or Surge, which is wholly insufficient under Rule 9(b). The Complaint cannot satisfy

Rule 9(b) when “the only allegations implicating [Surge or Quantum] are allegations about

Defendants as a group.” Aryai, 2019 WL 1258938 at *8 (“Because the [complaint] contains no

allegations of fraudulent conduct that are specific to [defendant], the claims against [defendant]

are dismissed.”); see also Wood, 328 F. App’x at 749-50 (holding that a complaint with “no

specific allegations as to a given defendant’s involvement, or with vague or generalized allegations

as to a given defendant’s involvement,” is “plainly insufficient under Rule 9(b)”) (internal citations

omitted). Accordingly, Quantum and Surge must be dismissed.

               2.      Sutton Park

       The government’s allegations against Sutton Park fare no better. Although the government

has included one patient example for Sutton Park, the deficiencies of which are discussed below

in section I.C., the only allegation in the Complaint purportedly about fraud at Sutton Park is the

recitation of one innocuous text message from April 4, 2018 between Whitney and an unnamed

“Director of Rehabilitation” to “pls look at your RUGs billing,” because “[s]ome of the trends with

the books seem weird,” and asking “why was that person only on RH.” Compl. ¶ 90.

       The plain wording of this one message, where Whitney expresses her perspective that a

business metric looked “weird” does not support in the slightest an inference of fraud by Sutton

Park. Asking an unidentified “Director of Rehabilitation” to look at billings does not plausibly

plead any pressure, any wrongdoing, or any wrongful acts by Sutton Park. See, e.g., U.S. ex rel.

Lawson v. Aegis Therapies, Inc., No. CV 210-072, 2015 WL 1541491, at *13 (S.D. Ga. March 31,




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2015) (tracking therapy utilization against benchmarks “establishes nothing more than the fact that

[defendant] implemented prudent business practices.”). 4

                3.      Excel

        Similarly, in the only Excel-related allegation (from November 22, 2013), Whitney

communicates to Laufer that rehabilitation levels at Excel and LICC are “well-balanced,” but that

she will “stay on top” of “room for improving and prolong dropping residents down a category.”

This allegation is nothing more than a discussion about business metrics with no connection to any

actual fraudulent conduct at Excel. Compl. ¶ 91. The message was sent eight years ago, yet the

government pleads nothing about Excel since, other than one isolated patient example discussed

below from 2015, which was six years ago. Even if the text message had involved fraudulent

conduct, it is not close enough in time to the patient example to infer a connection between the

two. See Compl. ¶¶ 90-91. As a result, Excel should be dismissed.

                4.      Oasis

        In the Complaint’s only allegation regarding conduct at Oasis, it alleges that “[a] therapist

at Oasis . . . reported simply moving the arms and legs of patients who were not cognitively

present,” and then, in a conclusory fashion, asserts that these “activities . . . do not constitute skilled

therapy and were performed simply to reach the requisite number of therapy minutes for the Ultra

High Level.” Id. ¶ 88. But the government fails to explain how such services are not and cannot

be skilled services, or what rule prevents cognitively impaired people from receiving care. An

individual who cannot move themselves may be subject to any number of adverse outcomes, such


4
  To the extent the government suggests it is improper for a health care entity to focus on revenue,
that is incorrect. CMS has stated “we do not believe there is anything inappropriate, unethical, or
otherwise wrong with hospitals taking full advantage of coding opportunities to maximize
Medicare payments that is supported by documentation in the medical record.” Changes to the
Hospital Inpatient Prospective Payment Systems and Fiscal Year 2008 Rates, 72 FR 47130-01,
47180 (Aug. 22, 2007).


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as a contractures or blood clots, if left unattended and immobile. They may be more prone to falls

or atrophy. Whether a patient is cognitively present may have little to do with their physical

condition. The government’s unsupported statement that such treatment does not constitute skilled

therapy is precisely the type of conclusory allegation that courts find insufficient under Rule 9(b).

See Ladas, 824 F.3d at 26 (plaintiff’s conclusory allegation that a product violated specification

was insufficient because the alleged deficiency was not a contractual requirement and plaintiff

failed to plead how the alleged deficiency led to violation of the contractual requirement).

       The government also does not allege how such conduct led to a fraudulent claim. There is

no allegation that anyone at Oasis knew that this unnamed therapist was engaged in the alleged

conduct, which is not inappropriate at all, such that Oasis could be responsible for the knowing

submission of a false claim. Accordingly, the Court should dismiss the Complaint against Oasis.

               5.      LICC

        The Complaint contains only two passing references to LICC, neither of which are

indicative of fraud. First, the government states that in November 2013, Whitney told Laufer that

“she had visited Excel and LICC and the ‘rehab levels’ were ‘well balanced’ but there was ‘room

for improving and prolong dropping residents down a category’ and she would ‘stay on top of

this.” Compl. ¶ 91. Second, the Complaint alleges that in December 2015—two years later—

Whitney told Laufer “she was at LICC and ‘the whole team’ was ‘great’ except for the Director of

Rehabilitation.” Id. ¶ 92. When Laufer replied that one year earlier Whitney had stated the Director

of Rehabilitation was good, Whitney responded that “the prior year there were about fifty Medicare

patients and the Director had been putting ‘everyone on ultra appropriately’ and keeping people

‘the appropriate length of stay,’ but now it was ‘quite the opposite,’ because the Director was

‘discharging people too soon,’ and her levels were ‘all off.’” Id.




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       Neither of these references support any allegation of fraud and, in fact, suggest the

opposite: Whitney’s 2013 text states that rehab levels are “balanced,” and her 2015 message

addresses whether patients are being discharged too soon (a patient care issue). The plain meaning

of her words is that Whitney believed what she doing was “appropriate.” Moreover, both

communications are entirely consistent with the ordinary, day-to-day discussions that one would

expect of individuals working with skilled nursing facilities (“SNFs”). It is reasonable for

individuals working with SNFs to take comfort that patients are being provided the care they need,

and to follow patient discharges generally. Moreover, there is absolutely no allegation that anyone

at LICC in a position to affect the amount of therapy or length of stay was ever made aware of

Whitney’s opinion, let alone conformed to unspecified pressure. These two statements, even if

temporally or otherwise linked to an action or a false submission, which they are not, are in no

way indicative of fraud or a scheme to provide unnecessary care. Critically missing from all of

these references to LICC is any specific factual allegation as to who at LICC was engaged in the

alleged fraud scheme, when and how the alleged fraud scheme was communicated to others at

LICC, and what LICC did in response. Accordingly, LICC is entitled to dismissal.

               6.     Glen Cove

       The allegations against Glen Cove similarly fall short of Rule 9(b). Like LICC, the

Complaint includes only two purportedly factual references to Glen Cove. First, in October 2017,

Laufer texted Whitney that Glen Cove, among others, “has kinda sucked in” discharges. Compl. ¶

68. Second, an unidentified employee allegedly told the government that, during an unspecified

time period, patients were put on Ultra High therapy who were unable to tolerate it, id. ¶ 88.

       These allegations lack the particularly required by Rule 9(b). There is nothing improper

about individuals that work with a SNF tracking patient discharges. See Lawson, 2015 WL

1541491, at *13 (tracking therapy utilization against benchmarks “establishes nothing more than


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the fact that [defendant] implemented prudent business practices.”). And, while the government

alleges that an unidentified “employee” reported improper usage of Ultra High therapy, there is no

allegation as to when this occurred, who provided and received this direction, what anyone at Glen

Cove did in response, and how many patients purportedly received an unnecessary or improperly

high level of care. Without adequate specificity, the Complaint falls short of the requirements of

Rule 9(b), and Glen Cove is entitled to dismissal.

               7.      Momentum

       At Momentum, the Complaint alleges that an unnamed “employee reported that . . . patients

were kept in wheelchairs so they would not progress.” Compl. ¶ 74. Like many others in the

Complaint, this isolated statement is fraught with ambiguity. It does not identify the observer’s

qualifications or basis for the conclusion. It fails to allege what payors the residents used, or how

keeping patients in wheelchairs led to the submission of false claims. It provides no time frame

during which this is alleged to have occurred. It does not identify the employee, his or her position,

whether he or she worked at Momentum, or, if not, how the person is familiar with Momentum’s

wheelchair usage. There is also no allegation that anyone at Momentum knew that this unknown

employee (or any other) was engaged in the purported misuse of wheelchairs.

       The only other factual allegation in the Complaint relating to Momentum is innocuous. In

a June 26, 2017 text message, Laufer mentioned to Whitney that discharge numbers, a reasonable

business metric to track, were “hig[h] for a few months,” to which Whitney responded that she

was working on reducing discharges but that Momentum had a particularly difficult patient

population. As an initial matter, no Momentum employees participated in the conversation, and

there is no indication that any Momentum employee became aware of the conversation or changed

their conduct as a result, let alone engaged in any fraudulent conduct as a result of the conversation.

In any event, even when continued care is medically necessary, patients may not want to stay in a


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SNF, and there is nothing wrong with wanting discharges to be appropriate and for facilities to

learn how to deal with patients such that they do not discharge against medical advice. These

allegations do not indicate fraudulent conduct. As such, dismissal is warranted.

               8.      North Westchester

       At North Westchester, the government reports a single allegation from yet another

unknown therapist who stated that she played checkers with residents to fill therapy minutes.

Compl. ¶ 88. There is no allegation that anyone at North Westchester instructed the therapist to

play checkers, much less that anyone at North Westchester was aware that the therapist engaged

in this behavior. In any event, this odd allegation, disconnected in time and scope, has nothing to

do with the government’s FCA theories—i.e. that the collective facilities prolonged patients’

length of stay or attributed patients to higher RUG levels than were medically necessary. The only

other factual allegation in the Complaint relating to North Westchester involves an October 18,

2017 text message from Laufer to Whitney stating that the facility could “do waaay better here.”

Id. ¶ 68. The government fails to include the rest of the context of the discussion, choosing instead

to editorialize, but regardless—there are no North Westchester employees involved in the message

chain, and there is no allegation that Laufer’s desire for North Westchester to “do waaay better”

was conveyed to anyone at North Westchester or resulted in any specific action or the submission

of false claims. The Court should dismiss North Westchester.

               9.      Emerge

       There are only two factual allegations in the Complaint about Emerge. The first is that in

October 2017 and March 2018, Whitney and Laufer, neither of whom are Emerge employees,

communicated about patient discharges at Emerge. Compl. ¶¶ 67-68. The second allegation

regarding Emerge is that in March 2019, the Director of Rehabilitation services at Emerge (the

only Emerge employee identified in the Complaint) advised Whitney that two patients would be


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discharged earlier than the Director had anticipated. Id. ¶ 71. Neither insinuates any wrongdoing,

let alone meets the heightened standards of Rule 9(b). The chatter between Whitney and Laufer

did not involve anyone from Emerge, and Emerge’s Director of Rehabilitation reporting to

Whitney that some patients would be leaving sooner than anticipated is a completely normal

communication. The Complaint should be dismissed as against Emerge.

               10.     Lynbrook

       At Lynbrook the government alleges that the Director of Rehabilitation did not allow

walkers in resident rooms “despite the fact that the walkers would increase the patient’s ability to

ambulate…” Id. ¶ 74. But an equally if not more plausible explanation exists for this purported

rule—nursing home patients are prone to falling, and unsupervised use of a walker in a resident’s

room may present unacceptable fall risk. Likewise, the walker itself may be a tripping hazard. The

Court should “not accept the conclusion that defendant engaged in unlawful conduct when its

actions are in line with lawful rational” purposes or “plausible alternative[s] (and legal)

explanation[s].” See Integra Med Analytics LLC v. Providence, 854 F. App’x at 844-45.

       Other allegations against Lynbrook include communications between Laufer and Whitney,

discussed across three paragraphs, after the administrator of Lynbrook reported admission,

discharge, and census information to Laufer by text message. Compl. at ¶¶ 63-65. “[E]agerness”

to “bail [one’s business] out of financial trouble” is not enough to demonstrate wrongdoing. See

U.S. ex rel. K & R Ltd. P’ship v. Mass. Hous. Fin. Agency, 530 F.3d 980, 984 (D.C. Cir. 2008). In

any event, Lynbrook employees did not participate in these conversations. There is also no

indication that anything discussed between Laufer and Whitney influenced Lynbrook employees

to take any action, let alone to submit false claims.

       Lastly, the government cites another isolated and out of context conversation between

Laufer and Whitney from July 11, 2016 where they discussed potential care programs that might


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attract patients to Lynbrook who needed extensive therapy services. Compl. ¶ 75. No Lynbrook

employees were involved in this discussion, and there is nothing inappropriate about creating

specialty programs to attract particular residents. Lynbrook is proud of its ability to offer

specialized services, including post coronavirus rehabilitation, pulmonary, and amputee

rehabilitation programs among others.

               11.     Purported Pressure by Laufer

       The foregoing isolated incidents do not identify the who, what, when, where, and how of

alleged FCA violations against any of these facilities—particularly so where the government has

not plausibly identified a time period in which they took place, the people involved, or how they

affected claims to the government. Perhaps recognizing that it has alleged almost no facts that

would support its claims that any of the facilities violated the FCA, the government pleads general

allegations regarding Laufer and Whitney’s purported pressure on facility personnel to extend

stays and order excessive therapy.

       But such alleged pressure must actually have been applied to someone at each of the eleven,

independent facilities and actually led to someone at each of these separate facilities acting in

accordance with the pressure to result in even the possibility of false claims being submitted to the

United States. See U.S. ex rel. Alt v. Anesthesia Servs. Assocs., PLLC, No. 3:16-CV-0549, 2019

WL 7372511, at *7 (M.D. Tenn. Dec. 31, 2019). There are no allegations making any such

connection here. Nor are there allegations explaining who or how anyone at any facility, let alone

prescribing doctors and treating therapists, was actually pressured. In Alt, addressing similar

conclusory allegations of “pressure,” the court granted defendant’s motion to dismiss based on the

complaint’s failure to adequately allege causation:

               The “how” relevant to the claims against Smith asks “how did Smith
               cause the providers to submit false claims?” The Consolidated
               Complaint purports to answer this question very succinctly: Smith


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               “pressured” the providers. The Consolidated Complaint includes no
               explanation of how he pressured them. The court finds that this
               assertion does not satisfy Rule 9(b).

Id. At a skilled nursing and rehabilitation facility, to provide more therapy than necessary, a

therapist or physician must write an order for more therapy than necessary. The government never

alleges that purported pressure by Laufer and Whitney ever caused that to happen at Emerge,

Lynbrook, Excel, LICC, North Westchester, Sutton Park, Momentum, Oasis, Glen Cove, Surge,

or Quantum, and accordingly each and every facility should be dismissed.

               12.     Generalized Allegations About “Facilities”

       The majority of the allegations about facility conduct are broadly stated to apply to

“facilities” rather than specific actions by any single facility. Contrary to the government’s claim

of an overarching scheme, the Complaint includes allegations demonstrating that the facilities were

operated by different personnel at different times. Compl. ¶¶ 51, 55. The government also alleges

that “Tami Whitney, a Paragon employee, oversaw rehabilitation therapy for all of the Facilities,”

however “each of the Facilities was overseen by an administrator” and that “[t]he Facility’s MDS

coordinator and the directors of rehabilitation, social services, admissions, diet, nursing, food

service, maintenance, and housekeeping all reported to the administrator.” Compl. ¶ 51.

       As alleged, each facility had its own staff, and there are insufficient allegations to conclude

that Whitney controlled the actions of any one of these staff members. The Complaint goes on to

allege that once a patient was admitted to the facility, the rehab department evaluated the individual

and established a plan of care. Id. at ¶ 55. Although the Complaint alleges, generally, that Whitney

pressured unidentified administrators and rehabilitation directors to assign patients to higher levels

of rehabilitation and extend their lengths of stay, there are no allegations that any specific

administrator or therapy manager at any of the separate, eleven facilities actually extended a

resident’s stay or ordered excessive therapy in response to the alleged pressure. Id. at ¶¶ 55, 56.


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There is not even an allegation addressing the role of the administrator or director of therapy in

the process of assignment of therapy levels, treatments, and submission of claims.

        The government often artfully pleads facts to give the impression of specificity when, in

reality, it makes conclusory allegations that do not support a claim against any individual facility.

For example, the Complaint alleges that “Whitney worked with employees of the Facilities” to

devise strategies to keep residents in facilities “including intentionally limiting patients’ ability to

function independently and using challenging balance tests in misleading ways to artificially

prolong patient stays.” Id. at ¶ 57 (emphasis added). However, the Complaint does not allege to

which facilities this allegation relates, the time frame, or with whom Whitney allegedly worked at

any facility. By using the term “including” when alleging specific actions, the government

obscures whether any specific facility is accused of this activity. Thus, no specific facility is on

notice of whether these allegations apply to it.

        A similar artifice is used in Paragraph 70, where the government alleges that Whitney

required each facility to prepare a monthly summary of discharges and “[a]ccording to employees

of several of the Facilities, Whitney frequently challenged discharge determinations when a

Medicare patient was set to be released before being at the facility for at least 85 or 90 days…” Id.

at ¶ 70. Again, the Complaint identifies no specific facility, employee, or patient. It concedes that

Whitney would only “sometimes” overrule employees who believed patients were ready for

discharge. The government provides no context regarding whether Whitney is alleged to have

overruled clinicians or non-clinicians, or whether the appropriate clinician decision makers agreed

or disagreed with Whitney’s assessment. It likewise does not allege in even conclusory fashion

that Whitney’s assessment was not lawful and appropriate, let alone provide the necessary detail.

This is insufficient and these separate, eleven facilities are entitled to dismissal.




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       B.      The Complaint Fails to Plead the “Who” with Particularity

       The Complaint also fails to allege any specific person at any facility who played any role

in an alleged fraudulent scheme. The Complaint does not even allege the most basic facts about

which defendants are accused of submitting false claims, which are accused of causing false claims

to be submitted, and which are accused of creating or using a false record or statement material to

claims submitted to the government. 5 Rule 9(b) is not satisfied “by a complaint in which

defendants are clumped together in vague allegations” like they are here. Polar Int’l. Brokerage

Corp. v. Reeve, 108 F. Supp. 2d 225, 237 (S.D.N.Y. 2000) (citation omitted). Instead, the

Complaint makes vague references to persons at the individual facilities such as “Facility

employees,” “employees at several facilities,” and “Facility staff.” See, e.g., id. ¶¶ 1, 57, 58, 60,

70, 71, 73, 82, 86. In most instances, the Complaint does not even state at which facility these

individuals are employed. 6 Because of the lack of specific facts in the Complaint, it “leave[s]

unclear who was involved in submitting the [alleged false] claims” at the individual facilities,

further running afoul of Rule 9(b). New York ex rel. Khurana v. Spherion Corp., No. 15 CIV. 6605

(JFK), 2016 WL 6652735, at *16 (S.D.N.Y. Nov. 10, 2016) (finding Rule 9(b) is not satisfied

because the allegations left “unclear who was involved in submitting the claims”).



5
  The Complaint further does not specify whether it is pleading an express or implied certification
claim, which is itself reason for dismissal. See U.S. ex rel. Gelbman v. City of New York, No. 14-
CV-771 (VSB), 2018 WL 4761575, at *6 (S.D.N.Y. Sept. 30, 2018) (“Gelbman I”), aff’d by
Gelbman II (“As an initial matter, the SAC does not distinguish between the legal standards
governing implied and express certifications, nor does it specify which theory is being
pursued….This lack of clarity alone is a basis to dismiss the legally false claims.”).
6
  No employees are identified by name, and Complaint only references a few employees by title.
Even those identified by title are alleged only to have reported standard business metrics that are
not evidence of an FCA violation. See Lawson, 2015 WL 1541491, at *13 (tracking therapy
utilization against benchmarks “establishes nothing more than the fact that [defendant]
implemented prudent business practices.”); U.S. ex rel. Ruscher v. Omnicare, No. 4:08-cv-3396,
2015 WL 5178074, at *28 (S.D.Tex. Sept. 3, 2015) (“evidence of a profit motive . . . is not
equivalent to evidence of a knowing intention to violate the FCA”).


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       There are no allegations that answer the basic “who?” questions that are fundamental when

the government alleges that someone knowingly submitted false claims. Rather, the Complaint

appears to accuse every defendant of both knowingly presenting false claims to the United States

and knowingly causing the submission of false claims to the government. Such internal

inconsistency should be reason alone to find that the Government has failed to satisfy the

particularity to demand of Rule 9(b).

       C.      The Sample Claims Fail to Satisfy Rule 9(b)

       The government also alleges that each and every one of the facility defendants were

collectively engaged in a ten-year fraud scheme potentially implicating thousands of Medicare

claims, yet provides NO exemplar patient claims for Surge or Quantum, and only one exemplar

claim each for Emerge, Lynbrook, Excel, LICC, North Westchester, Sutton Park, Momentum,

Oasis, and Glen Cove. These barebones allegations do not plausibly support the government’s

conclusion that that each facility engaged in a decade of fraud, let alone caused false claims to be

presented to the government, particularly where, as is the case here, each facility is a separate and

distinct defendant that has individually cared for thousands, if not tens of thousands, of patients in

the span of ten years. Even if there was enough detail provided about an alleged scheme, which

there is not, Rule 9(b) is not satisfied by detailing a fraudulent scheme and concluding, that as a

result of the fraudulent scheme, false claims must have been submitted. See United States v.

Novartis Pharm. Corp., No. 13-CV-3700, 2020 WL 1436706, at *3-5 (S.D.N.Y. Mar. 24, 2020).

This is particularly true, when as is the case here, the Complaint does not make even a basic attempt

to link the conversations of non-employees to the actions of employees, let alone to the submission

of false claims. When exemplar claims are included, they are often separated in time from the

alleged statements.




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        Although the government may use exemplar claims under certain circumstances, the

government must still include claims that are representative of the broader class of fraudulent

claims in the case and plead specific facts alleging that such claims are false with the requisite

particularity to meet Rule 9(b)’s heightened pleading standard for fraud. See United States v. Wells

Fargo Bank, N.A., 972 F. Supp. 2d 593, 616 (S.D.N.Y. 2013) (examples of claims “‘will support

more generalized allegations of fraud only to the extent that [they] are representative samples of

the broader class of claims.’”) (quoting United States v. Bledsoe v. Community Health Systems,

Inc., 501 F.3d 493, 510 (6th Cir. 2007)). The government does not even attempt to meet this

standard with respect to Surge and Quantum, and the single examples provided for each of Emerge,

Lynbrook, Excel, LICC, North Westchester, Sutton Park, Momentum, Oasis, and Glen Cove fail

to meet this standard.

        The point of requiring a heightened pleading standard for fraud is to put the defendant on

notice by “[providing] the defendant with enough details to be able to reasonably discern which of

the claims it submitted are at issue” and to “reasonably identify particular false claims.” Kester,

23 F. Supp. 3d at 258, 260 (internal quotation omitted). Here, the government fails to meet the

Rule 9(b) particularity requirements, not only because the single examples per facility are not

representative of the entire ten-year scheme alleged for each facility, see Wells Fargo, 972 F. Supp.

2d at 617 (noting that one of the factors that made the government’s ten customer examples

representative of the entire scheme alleged was that the examples were taken from throughout the

time period of the scheme), but also because the examples fail to identify the allegedly unnecessary

services at each facility. Meimaris, 2019 WL 4673572, at *5 (“Where multiple defendants are

asked to respond to allegations of fraud, the complaint should inform each defendant of the nature

of his alleged participation in the fraud.”).




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       The Complaint merely alleges in a conclusory fashion that the patients either received

excessive amounts of therapy, excessive levels of therapy, or both without providing adequate

detail of how or why the care provided allegedly violated some law or standard. Wexner v. First

Manhattan Co., 902 F.2d 169, 172 (2d Cir. 1990) (noting that claims of fraud cannot be “base[d]

. . . on speculation and conclusory allegations”); see also U.S. ex rel. Grubea v. Rosicki, Rosicki &

Assocs., P.C., 318 F. Supp. 3d 680, 697 (S.D.N.Y. 2018) (finding three examples of fraudulent

conduct insufficient to plead an FCA claim because the examples were “entirely conclusory”).

Rather than plausibly and specifically pleading its case, the Government focuses on what patient

records purportedly do not show and improperly attempts to shift the burden to the defendants to

demonstrate the validity of every claim submitted. See U.S. ex rel. Crews v. NCS Healthcare of

Illinois, Inc., 460 F.3d 853, 857 (7th Cir. 2006).

       As detailed below, the government argues that services should be cut off while

acknowledging they were effective in improving the residents’ condition, apparently sacrificing

patient well-being for lower costs. This view is diametrically opposed to CMS statements that

reimbursement that rewards providers who provide services is necessary to prevent under-

utilization. Medicare Program; Prospective Payment System and Consolidated Billing for SNFs

for FY 2010; Minimum Data Set, Version 3.0 for SNFs and Medicaid Nursing Facilities, 74 FR

22208-01, at 22220 (May 12, 2009) (“separating payment from the actual provision of services,

the system, and more importantly, the beneficiaries would be vulnerable to underutilization.”)

               1.      Quantum and Surge

       Similar to its complete lack of factual allegations against Surge and Quantum, the

Complaint also fails to provide any patient example for either facility. This alone is grounds for

the Court to dismiss these two defendants. See Wood, Inc., 328 F. App’x at 750 (affirming

dismissal where “the Amended Complaint does not cite to a single identifiable record or billing


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submission they claim to be false, or give a single example of when a purportedly false claim was

presented for payment by a particular defendant at a specific time.”) (internal quotation omitted).

               2.      Sutton Park

       The only patient example provided for Sutton Park pre-dates the only factual allegation

against Sutton Park. The only text message purporting to be evidence of fraud at Sutton Park is

dated from 2018, whereas “Patient C” was a resident in 2016. It is not plausible to conclude, as the

government does here with no support, that an alleged scheme not even discussed until one isolated

text message from 2018 is on display in the records of one patient from 2016. See Compl. ¶¶ 90,

97(c). These references fail to plead a causative link between any alleged unnecessary or

unreasonable treatment provided to Patient C, specific dates of any unnecessary treatment (as

opposed to dates of service), any facts (other than speculation) to support how the treatment

provided to Patient C was unnecessary/unreasonable/false. This cannot pass muster.

       The government merely alleges that for Patient C, Sutton Park “billed Medicare for a 99-

day stay at the Ultra High level,” and that the level/length of therapy were unjustified and

excessive. Id. ¶ 97(c). Even if true, a 99-day stay at ultra-high level is consistent with legal

behavior, and the government’s conclusion of wrongdoing does not even satisfy Rule 8’s

plausibility standard. See Grubea, 318 F. Supp. 3d at 697 (finding that the examples of purported

fraud were insufficient because they were “entirely conclusory”). The lawful explanation here is

that Patient C required this level of therapy, and the Court should not accept the government’s

conclusions regarding unlawful conduct when an innocent explanation is equally plausible. See

Iqbal, 556 U.S. at 682; see also Integra Med Analytics LLC, 854 F. App’x at 845.

       A SNF “must provide the necessary care and services to attain or maintain the highest

practicable physical, mental, and psychosocial well-being, consistent with the resident’s

comprehensive assessment and plan of care.” 42 C.F.R. § 483.24. The government pleads no facts


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demonstrating Patient C received anything other than necessary and reasonable care, nor does the

government identity a Sutton Park clinician and/or person who: (i) ordered/provided the therapy

knowing it was unreasonable and/or unnecessary; (ii) falsified/lied on any documents or records

on a particular date; or (iii) signed particular claim form, or made a specific representation about,

goods/services, and/or omitted any type of non-compliance.

       The government also alleges that Sutton Park failed to reduce/discontinue the patient’s

therapy minutes after Patient C “regained function,” and that the “medical records do not reflect

any attempt to customize the amount of therapy Patient C received.” Compl. ¶ 97(c). Again, the

government pleads lawful behavior. When assessing whether a skilled service is reasonable or

necessary:

               The restoration potential of a patient is not the deciding factor in
               determining whether skilled services are needed. Even if full
               recovery or medical improvement is not possible, a patient may need
               skilled services to prevent further deterioration or preserve current
               capabilities.

42 C.F.R. § 409.32(c); see also Jimmo v. Sebelius Settlement Agreement Fact Sheet,

https://www.cms.gov/Medicare/Medicare-Fee-for-Service-Payment/SNFPPS/Downloads/Jimmo-

FactSheet.pdf. The government does not allege that skilled services were not needed to “prevent

further deterioration or preserve current capabilities,” only that Sutton Park’s rehabilitation

worked and that Patient C “regained function.” The government’s allegations about Patient C do

not demonstrate a plausible claim, and Sutton Park should be dismissed.

               3.      Excel and Oasis

       The government claims that Defendants violated the FCA by both (1) placing patients on

higher levels of therapy than medically necessary, and (2) prolonging patients’ stay longer than

medically necessary. See Compl. ¶ 1. Yet the patient examples for Excel and Oasis do not contain




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any allegations that they prolonged the stays of the patients beyond what was medically necessary,

and state only in conclusory fashion that the care was medically unnecessary. Id. ¶ 97(g)-(h).

       Notably, the Excel patient, “Patient H,” was only on service for approximately one month

between May 11, 2015 and June 15, 2015, Id. ¶ 97(h), which alone is insufficient to be

representative of a purported ten-year fraud scheme. For Patient H, the government objects that

“the Facility billed for physical and occupational therapy at the Ultra High level for the full length

of the patient’s stay, despite Patient H’s difficulty following commands,” but the government

provides no support for its position, nor does it explain why having difficulty following commands

made the therapy unnecessary or inappropriate, let alone fraudulent. Id. It goes on to state in a

conclusory fashion that “the therapy notes do not identify skilled activities or exercises necessary

to support the minutes of therapy provided.” However, the Complaint does not identify what is

stated in the therapy notes and how they fail to identify skilled activities or exercises that the

government alleges are necessary, and as such, the Court should dismiss Excel. Id.

       The Oasis patient example is similarly deficient, as the government complains in

conclusory fashion only that “Patient G’s medical records do not justify the amount of therapy for

which Oasis billed Medicare” because the patient was doing too well. Id. ¶ 97(g) (“Patient G was

able to perform basic mobility tasks and most activities of daily living with little to no assistance

and the patient’s medical records did not identify complex impairments or deficits that would

justify daily therapy services.”). Moreover, this one patient example where the patient was much

improved by therapy has no connection, and is, in fact, contradictory to, the only factual allegation

in the Complaint lodged against Oasis by the government—that a therapist “reported simply

moving the arms and legs of patients who were not cognitively present.” This is insufficient to

state an FCA claim against Oasis.




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               4.      North Westchester

       Akin to the example for Sutton Park, the government’s allegations about “Patient D,” a

resident at North Westchester from March 9, 2018 through June 15, 2018, are too conclusory to

plead that North Westchester submitted false claims. The government implies that ultra-high

therapy was inappropriate because the patient had chronic obstructive pulmonary disease and poor

endurance. Compl. ¶ 97(d). But, in the very next sentence, the government acknowledges that the

patient quickly regained function from the ultra-high therapy it claims was not necessary. The

government then says that the ultra-high therapy continued for the patient’s full length of stay but

does not explain why it was not necessary, or how the Jimmo standard regarding the use of therapy

for maintenance and to prevent decline does not apply. There are no allegations that North

Westchester was not providing Patient D the care needed to “attain or maintain the highest

practicable physical, mental, and psychosocial well-being.” See 42 C.F.R. § 483.24. As a result,

the government’s allegations are deficient, and North Westchester is entitled to dismissal.

               5.      Momentum

       The single patient example for Momentum does not contain allegations that Momentum

billed Medicare for higher levels of therapy than were medically necessary. Compl. ¶ 97(f). Merely

stating that the therapy notes are insufficient for a single patient does nothing to help Momentum

reasonably “identify particular false claims for payment that were submitted to the government’”

over the course of ten years. See Kester, 23 F. Supp. 3d at 260. This absence of specificity is

inexplicable because the government has the medical records and should be able to plead facts

regarding why it believes the therapy notes do not support the care that was billed.

       Moreover, the allegations the government makes are not indicative of an FCA violation.

The government would have had Momentum give up on “Patient F” rather than provide the patient

the care required by law, merely because Patient F was allegedly a tough patient who was


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“noncompliant with treatment.” Compl. ¶ 97(f). As noted above, [t]he restoration potential of a

patient is not the deciding factor in determining whether skilled services are needed,” and the

government fails to plead facts—rather than conclusions—that Patient F’s care was anything but

reasonable and necessary. See 42 C.F.R. § 409.32(c).

               6.      Lynbrook

       The allegations regarding “Patient B” at Lynbrook have no plausible connection to the

alleged scheme pleaded by the government elsewhere in the Complaint. Patient B was treated at

Lynbrook from December 27, 2012 through April 6, 2013, but there are no factual allegations

whatsoever in the Complaint from this time period, let alone factual allegations specific to

Lynbrook. The earliest factual allegation in the Complaint involving Lynbrook is a July 11, 2016

conversation between Laufer and Whitney about business metrics.

       Moreover, the government’s claim that therapy should have been discontinued once

“Patient B” reached “his/her prior level of function” is erroneous as a matter of law. See 42 C.F.R.

§ 483.24. Patient B was entitled to receive care to attain the “highest practicable … well-being.”

Id. Because the government fails to plead sufficient facts demonstrating that the care Lynbrook

provided to Patient B fell short of this standard or was part of some scheme for which there are no

allegations until four years after the patient received services, Lynbrook is entitled to dismissal.

               7.      LICC

       The government’s single patient example for LICC is also deficient. The government’s

alleged reason that therapy was inappropriate for “Patient A”—because the patient has “significant

cognitive deficits”—is not only erroneous as a matter of law, but also, does a shocking disservice

to the patient. Compl. ¶ 97(a). Even patients with cognitive deficits may need and benefit from

therapy. Much of the government’s grievance regarding LICC’s treatment of the patient revolves

around alleged discrepancies in the bookkeeping relating to the therapy provided. There is no


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authority holding that a facility keeping allegedly “poor records” excuses the government from

having to plead fraud with particularity as required by Rule 9(b). Crews, 460 F.3d at 857.

               8.      Glen Cove

       The one Glen Cove patient example included in the Complaint received care between

January and April 2015. But, the Complaint fails to plead any facts to suggest that Glen Cove, or

anyone employed by Glen Cove, was participating in a scheme to provide unskilled, unreasonable,

or unnecessary patient care in early 2015, or that anyone directed such conduct at that time. Indeed,

even the standard, course-of-business communications between Laufer and Whitney cited in the

Complaint relating to Glen Cove post-date April 2015 by years. Compl. ¶¶ 68, 88. As such, the

Complaint fails to allege the specific facts required to support that this one patient was part and

parcel of a fraud scheme at Glen Cove, so Glen Cove should be dismissed.

               9.      Emerge

       The government alleges that Emerge was involved in a ten-year scheme to submit false

claims and identifies one example claim—a patient that the government asserts, in conclusory

fashion, should have been placed on a lower level of therapy than they received. A single example

cannot be representative of what the government contends was a decade long scheme of submitting

false claims. The government’s conclusory assertion—made without meaningful factual support—

that a patient received more therapeutic services than the government believes were necessary does

not state a claim for anything. See Lawson, 2015 WL 1541491, at *12-13. Emerge is aware of no

FCA case that has found a single example claim to meet the requirements of Rule 9(b).

       The example Emerge claim is further deficient because it is disconnected from the

substantive allegations in the Complaint. Whereas the patient example is from 2013, Compl. ¶

97(I), the limited allegations in the Complaint about Emerge address events or communications

taking place October 2017 or later, id. ¶¶ 67-68, 71. Not only does the patient example pre-date


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any allegations regarding Emerge by four years, it also pre-dates, by several years, any substantive

allegations in the Complaint. As the Complaint acknowledges, Laufer did not own any part of

Emerge until 2018. Id. ¶ 50. The government’s claim in footnote 4 that Laufer was “closely

involved in the operation” of Emerge before 2018 is conclusory. There is nothing in the Complaint

indicating that Laufer had any involvement with Emerge until October 2017, at the earliest. There

is certainly nothing demonstrating that this one claim for an Emerge patient from 2013 was part

of a fraudulent scheme. As such, the Court should dismiss Emerge from this litigation.

       D.      The Government Fails to Plead Scienter

       In addition to the lack of particular allegations of conduct involving Emerge, Lynbrook,

Excel, LICC, North Westchester, Sutton Park, Momentum, Oasis, Glen Cove, Surge, and

Quantum, the Complaint is devoid of specific allegations that any facility acted with the requisite

scienter. To violate the FCA, a defendant must “knowingly” submit or cause to be submitted false

or fraudulent claims. Where the government does not allege actual knowledge, it must at least

allege sufficient facts about each defendant indicating that it acted “in reckless disregard,” 31

U.S.C. § 3729(b)(1), which means conduct that is “highly unreasonable and which represents an

extreme departure from the standards of ordinary care.” Grubea, 318 F. Supp. 3d at 694 (quoting

Chill v. Gen. Elec. Co., 101 F.3d 263, 269 (2d Cir. 1996)). The FCA’s scienter requirement is

“rigorous,” and a complaint must “allege facts that give rise to a strong inference of fraudulent

intent.” Id. As explained above specifically as relevant to each facility, the Complaint does not

even identify anyone at Emerge, Lynbrook, Excel, LICC, North Westchester, Sutton Park,

Momentum, Oasis, Glen Cove, Surge, and Quantum with fraudulent intent. This Complaint fails

to plead any facts that would give rise to a strong inference that any facility it was submitting false

claims to Medicare, much less acted with reckless disregard for such alleged conduct, and,

accordingly, the Court should dismiss each facility.


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II.    FCA Claims Pre-dating December 1, 2011 Are Time-barred

       In its Complaint, the government alleges that “[f]rom at least 2010 through September

2019,” all of the defendants, with no factual differentiation, purportedly engaged in fraudulent

conduct. Compl. ¶ 1. Certain of the facilities were not open or even owned by Laufer in 2010, but

in any event, to the extent the government alleges FCA claims prior to December 1, 2011 against

any facility, such claims are time-barred and should be dismissed with prejudice. Under the FCA,

a civil action may not be brought more than six years after the date on which the violation is

committed. 31 U.S.C. § 3731(b)(1). 7 Additionally, there are no medical records, statements

attributed to any person, or any other specific allegations in the Complaint which pre-date

December 1, 2012.

       “The statute of limitations runs from the date the claim is made, or, if the claim is paid, on

the date of payment, until the complaint is filed.” U.S. ex rel. Kolchinsky v. Moody’s Corp., 162

F. Supp. 3d 186, 198 (S.D.N.Y. 2016) (internal quotations and citations omitted). Relator filed its

complaint on December 1, 2017. Doc. 1 & 14. Consequently, under the six-year FCA statute of

limitations, the government cannot state a claim based on allegations regarding supposed conduct

predating December 1, 2011, and as such the Court should dismiss the Complaint to the extent it

depends upon allegations of conduct and claims submitted or paid before that date. Any claims

predating December 2012 should likewise be dismissed because there is not a single fact to support

the claims alleged in the Complaint.


7
  Under some circumstances the FCA’s statute of repose allows the government to pursue claims
for up to ten years, but only if the government pursues the claims within three years of “when facts
material to the right of action are known or reasonably should have been known” by the
government. 31 U.S.C. § 3731(b)(2). In this case, the professional Relator brought its complaint
exclusively based on publicly available claims information, which was available to the government
even before Relator brought its case. See Doc. 1 & 14, ¶ 32 (“To detect patterns of fraud at Laufer
facilities, Relator employed unique algorithms and statistical processes to analyze SNF Medicare
claims data obtained from CMS”). The ten-year statute of repose is thus not applicable in this case.


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III.    The Government’s Unjust Enrichment and Payment by Mistake Claims (Counts III
        and IV) Fail as a Matter of Law and Should Be Dismissed with Prejudice

        A.     The Government’s Unjust Enrichment and Payment by Mistake Claims Are
               Duplicative and Fail for the Same Reasons as the FCA Claims

        For the reasons set forth above with respect to the Government’s FCA claims, the unjust

enrichment and payment by mistake claims must also be dismissed for failure to plead with

particularity. Rule 9(b) applies where, as is the case here, unjust enrichment and payment by

mistake are based on alleged fraud. See Kester, 23 F. Supp. 3d at 269 (“The heightened pleading

standard of Rule 9(b) applies to state common law claims where those claims are premised on a

defendant’s underlying fraudulent conduct, including the submission of fraudulent claims to

government programs.”).

        Moreover, the Court should dismiss the government’s claims of unjust enrichment and

payment by mistake because the FCA provides an adequate legal remedy. The government’s

theories of unjust enrichment and payment by mistake would be appropriate “only if no adequate

legal remedy exists.” United States v. Job Res. for Disabled, No. 97 C 3904, 2000 WL 562444, at

*4 (N.D. Ill. May 9, 2000), reconsidered in part on other grounds 2000 WL 1222205 (N.D. Ill.

Aug. 24, 2000). Here, the FCA is “an adequate legal remedy to protect the federal government’s

interests.” Id.; see also United States v. Hydroaire, Inc., No. 94 C 4414, 1995 WL 86733, at *6

(N.D. Ill. Feb. 27, 1995) (dismissing the government’s claims for unjust enrichment and mistake

of fact “[i]n light of the existence of adequate remedies” under the FCA, breach of contract, and

fraud theories). Consequently, the government’s unjust enrichment and payment by mistake claims

are duplicative and due to be dismissed.




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       B.      The Government’s Unjust Enrichment and Payment by Mistake Claims
               Should Be Dismissed Because a Contract Covers the Subject Matter in Dispute

       Alternatively, even if the Court finds that the government may concurrently bring FCA and

unjust enrichment and payment by mistake claims based on the same facts and seeking the same

relief, the Court should nonetheless dismiss the government’s claims of unjust enrichment and

payment by mistake because they sound in quasi-contract and the Medicare Provider Agreement

is an express contract between the parties. “[F]ederal courts have maintained that there can be no

claim for unjust enrichment [or payment by mistake] when an express contract exists between the

parties.” United States v. Bollinger Shipyards, Inc., No. 12-920, 2013 WL 393037, at *15 (E.D.

La. Jan. 30, 2013); see also United States v. United Techs. Corp., 51 F. Supp. 2d 167, 200 (D.

Conn. 1999) (“The . . . amended complaint state[s] common law, quasi-contractual claims of unjust

enrichment and payment by mistake[.] Because these two common law claims are quasi-

contractual, they are inappropriate claims where, as here, there is an express contract.”); United

States v. EER Sys. Corp., 950 F. Supp. 130, 133 (D. Md. 1996) (“Because the above common law

counts are quasi-contractual[,] . . . they are inappropriate claims when there is an express

contract.”); Hydroaire, 1995 WL 86733, at *6 (“[T]he doctrine of unjust enrichment has no

application where, as in this case, a specific contract governs the relationship of the parties.”).

       Medicare Provider Agreements create a contractual relationship between the provider and

the Centers for Medicare and Medicaid Services (“CMS”). See United States v. Arrow Med. Equip.

Co., No. 90-5701, 1990 WL 210601, at *4 (E.D. Pa. Dec. 18, 1990). Consequently, the Court

should dismiss the government’s unjust enrichment and payment by mistake claims because an

express contract governs each facility’s relationship with CMS.




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       C.      The Government’s Unjust Enrichment and Payment by Mistake Claims Pre-
               dating December 1, 2014 Are Time-barred

       Finally, the government’s unjust enrichment and payment by mistake claims pre-dating

December 1, 2014 are also time-barred because they accrued more than three years prior to the

filing of the Relator’s complaint on December 1, 2017. (Doc. 1 & 14). In its Complaint, the

government defined the “Relevant Period” for its claims as beginning in “at least 2010.” Compl.

¶¶ 1, 60, 94. In the Southern District of New York, “[t]he substance of a claim is the proper basis

for determining the appropriate statute of limitations” for claims brought by the United States

under 28 U.S.C. § 2415. Blusal Meats, Inc. v. United States, 638 F. Supp. 824, 831 (S.D.N.Y.

1986), aff’d, 817 F.2d 1007 (2d Cir. 1987). Where, as is the case here, the unjust enrichment and

payment by mistake claims are based on and intertwined with FCA allegations of fraud, the three-

year statute of limitations for torts found in 28 U.S.C. § 2415(b) should apply. Id. Accordingly,

the government’s unjust enrichment and payment by mistake claims pre-dating December 1, 2014

should be dismissed with prejudice.




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                                        CONCLUSION

       The government’s complaint fails to plead with specificity how Emerge, Lynbrook, Excel,

LICC, North Westchester, Sutton Park, Momentum, Oasis, Glen Cove, Surge, and Quantum each

knowingly submitted false claims for medically unnecessary skilled nursing services. At most, the

Complaint includes allegations about conversations between two defendants who were never

employees of Emerge, Lynbrook, Excel, LICC, North Westchester, Sutton Park, Momentum,

Oasis, Glen Cove, Surge, or Quantum, and general and conclusory allegations regarding efforts to

“pressure” unspecified facilities to extend stays and order more therapy than necessary.

       Absent from the Complaint are allegations that anyone at Emerge, Lynbrook, Excel, LICC,

North Westchester, Sutton Park, Momentum, Oasis, Glen Cove, Surge, or Quantum received this

alleged pressure, submitted claims, or inappropriately extended stays or ordered excessive therapy

services. The lack of any patient examples for Surge and Quantum means these two facilities must

be dismissed. Moreover, the single patient example each for Emerge, Lynbrook, Excel, LICC,

North Westchester, Sutton Park, Momentum, Oasis, and Glen Cove do not provide sufficient

information to explain what care provided was fraudulent and are not a sufficient basis to allege

that each facility was involved in some elaborate fraudulent scheme spanning ten years.

       For these reasons, the Complaint fails and should be dismissed as to Emerge, Lynbrook,

Excel, LICC, North Westchester, Sutton Park, Momentum, Oasis, Glen Cove, Surge, and

Quantum. Because the Court provided the government advance opportunity to amend the

Complaint and it declined to do so (see Sept. 9, 2021 Minute Entry), the Court should enter

dismissal with prejudice. See Grubea, 318 F. Supp. 3d. at 696 (holding that, where plaintiff “has

had ample opportunity to plead every possible factual basis…and was not able…the dismissal is

with prejudice.”).




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 Dated: October 28, 2021      Respectfully submitted,



                              /s/ J. Bradley Robertson

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                                CERTIFICATE OF SERVICE

       I hereby certify that, pursuant to the direction of the Court at its September 9, 2021 Pre-

Motion Conference, I have this the 28th day of October, 2021 served the foregoing Motion to

Dismiss on the following parties by email:



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